
Opinion by Judge WARDLAW; Partial Dissent by Judge RESTANI.
OPINION
WARDLAW, Circuit Judge:
Mark Tyrell Fowlkes appeals his conviction for drug distribution and possession with intent to distribute. Fowlkes raises a number of claims on appeal, but only one has merit: that the forcible removal of drugs from Fowlkes’s rectum' by officers without medical training or a warrant violated his Fourth Amendment rights. Because we conclude that the evidence obtained from this brutal and physically invasive search should have been suppressed, we vacate Fowlkes’s conviction in part, vacate his sentence, and remand to the district court.
I.
A.
Drug Enforcement Administration (“DEA”) agents and Long Beach Police Department (“LBPD”) officers obtained warrants for wiretaps on two phones (Target Telephones # 1 and # 2) in July and August of 2006. On September 3, 2006, officers intercepted communications pursuant to the wiretap, which led them to conclude that Fowlkes was arranging a drug deal. Based on that information, LBPD officers placed Fowlkes under surveillance and witnessed what appeared to be a drug deal between Fowlkes and two other individuals, Shaun Lee and Elaine Watson. Lee walked away from the deal, but officers stopped him and found he possessed 0.61 grams of crack cocaine.
On September 4, 2006, the LBPD and DEA intercepted several more phone calls, leading them to conclude that Fowlkes was planning to destroy or remove contraband from his apartment. Within an hour of the last phone call, officers arrived at the apartment. Upon entry, ‘ they saw Fowlkes and another individual, Latoya Marshall, as well as a 9mm handgun. The officers handcuffed Fowlkes and Marshall and conducted a protective sweep of the apartment. After securing a warrant, officers searched the apartment and found *754approximately 2.6 grams of crack cocaine, a digital scale, and the loaded 9mm handgun.
On September 13, 2006, after witnessing what appeared to be a narcotics transaction between Fowlkes and an unidentified man, LBPD officers requested that a marked car execute a pretextual traffic stop. Pulled over for an expired registration, Fowlkes and his passenger were asked to exit the vehicle. Fowlkes denied consent to search the car. Asserting that they saw marijuana in the open side panel of the car and a substance they believed was cocaine base on the front seats of the car, officers arrested Fowlkes for felony drug possession and transported him to the Long Beach City Jail for processing.
At intake, the officers strip searched Fowlkes in the jail’s strip search room, a five by six enclosure with three concrete walls and an opening in the fourth wall. Five officers observed the strip search, including Officer Jeffrey Harris and Sergeant Michael Gibbs, who brought along his taser, gloves and “assistance” in the form of additional officers because he thought Fowlkes might have drugs. The officers instructed Fowlkes to remove his clothing and face the far wall as they watched him. Fowlkes was instructed to bend over, spread his buttocks, and cough, but according to Sergeant Gibbs, Fowlkes instead moved his hand toward his right buttock. Instructed to repeat the procedure, Fowlkes rmade a quick movement to his buttocks area with his hand and appeared to Gibbs “to be forcing or forcibly pushing an item inward.” Officer Harris testified he believed it was possible Fowlkes was attempting to push something into his anus. However, he did not actually see any object Fowlkes could have been pushing, and he acknowledged that there was no other way for Fowlkes to comply with the directive other than by reaching back and putting his fingers towards his anus. For his part, Sergeant Gibbs testified that he believed Fowlkes appeared “to be forcing or moving an object or further secreting an object” inside his rectum to destroy evidence.
To prevent that, Gibbs “delivered a drive stun tase to the center portion of the defendant’s back.” Fowlkes’s arms went straight into the air, and the officers handcuffed him. Fowlkes began to “squirm[ ]” and “struggle],” and the officers “lean[ed] him against the wall, ... brace[d] his body up against the wall” so that “[h]e end[ed] up being bent over.” With Fowlkes in this position, the officers testified that they could see what appeared to be a plastic bag partially protruding from Fowlkes’s rectum.
Officers continued to “brac[e] [Fowlkes] up against the wall” to prevent him from resisting. At this point, Fowlkes was handcuffed and incapacitated by five male officers, making escape or resistance impossible. Fowlkes had no ability to destroy or further secrete what was in the plastic bag. Neither Sergeant Gibbs nor the other officers could tell what, if anything, the plastic bag contained while it remained in Fowlkes’s rectum. Nor could they determine how large it was or how far it extended into Fowlkes’s body. Despite this, and despite the fact that none of the officers had any relevant medical training, the officers did not attempt to obtain a warrant, summon medical personnel”, move Fowlkes to a sanitary location, or allow Fowlkes to pass the suspected contraband naturally. Instead, Sergeant Gibbs forcibly “retrieved” the bag. He put on the protective gloves he had brought along to the “search” and pulled the object from Fowlkes’s rectum without the assistance of anesthesia, lubricant, or medical dilation. Although Sergeant Gibbs testified that he was able to remove the object using his *755thumb and index finger without penetrating Fowlkes’s anal cavity, Officer Harris testified that the removal itself was a difficult, abrasive procedure:
I watched the entire process of him removing it in his fingers. [The object] went from a dime size to a penny size to a nickel size to a quarter size to somewhat near a golf ball size as it was taken out.
Officer Harris further testified that he could “see blood and what looked to be feces” on the plastic bag after it had been removed. Photographs of the object that are included in the appellate record confirm that the object was covered in blood.
B.
On June 6, 2008, the government filed an indictment charging Fowlkes with three counts of drug possession and distribution and two related firearm counts. Before trial, Fowlkes moved to suppress all of the evidence obtained in the case pursuant to the wiretap, the evidence seized from the searches of his apartment and car, and the drugs found within his person during the body cavity search at the jail. The district court denied each of these motions.
On July 8, 2008, a jury trial commenced, but it ended two days later when Fowlkes requested a mistrial after Federal Marshals arrested a key defense witness outside of the courtroom doors, but within earshot and possible view of the jury. Fowlkes subsequently filed a motion to dismiss the indictments on double jeopardy or due process grounds because the government’s misconduct had goaded him into requesting the mistrial. On September 17, 2008, the district court denied the motion.
On November 4, 2008, Fowlkes’s retrial began, and on November 20, the jury found Fowlkes guilty of the three drug related counts. The court sentenced Fowlkes to time served (forty-six months) and supervised release for eight years.
Fowlkes claims the district court erred by denying his motions to: (1) suppress the evidence obtained through the wiretaps because the application for the warrant was technically deficient, and, at the least, the district court should have held a Franks hearing; (2) suppress evidence seized from his apartment because the officers’ warrantless entry was unlawful and the warrant authorizing the search was unsupported by probable cause; (3) suppress the cocaine base and marijuana seized from his car because the initial stop and subsequent search of his car was unlawful; (4) suppress the evidence obtained from the body cavity search performed at the jail because the warrantless search violated his Fourth Amendment rights; (5) dismiss the indictment on a claim of evidence tampering;1 and (6) dismiss the indictment on double jeopardy grounds following a mistrial.
We affirm the district court’s rulings except the denial of Fowlkes’s motion to suppress the cocaine seized from within his body during the warrantless body cavity search at the Long Beach Jail. We therefore reverse the conviction on the count predicated on that evidence.
II.
“Prison walls do not form a barrier separating prison inmates from the protections of the Constitution.” Turner v. Safley, 482 U.S. 78, 84, 107 S.Ct. 2254, 96 *756L.Ed.2d 64,(1987). We review de novo a district court’s denial of a motion to suppress evidence, and we review the underlying factual issues for clear error. United States v. Fernandez, 388 F.3d 1199, 1234 (9th Cir.2004). The district court concluded a warrant was not required for the drugs forcibly removed from Fowlkes’s rectum, reasoning that the officers conducted a visual search rather than a physical one. We conclude to the contrary based on the particular circumstances of the search at issue.
A.
The Fourth Amendment requires police officers to obtain a warrant to search for and seize drugs within a person’s body. See Bouse v. Bussey, 573 F.2d 548, 550 (9th Cir.1977) (per curiam) (quoting Schmerber v. California, 384 U.S. 757, 770, 86 S.Ct. 1826, 16 L.Ed.2d 908 (1966) (“Search warrants are ordinarily required for searches of dwellings, and, absent an emergency, no less could be required where intrusions into the human body are concerned.”)). A warrantless search of the human body implicates an individual’s “most personal and deep-rooted expectations of privacy,” Winston v. Lee, 470 U.S. 753, 760, 105 S.Ct. 1611, 84 L.Ed.2d 662 (1985), and is reasonable only if it falls within' one of the Fourth Amendment’s recognized exceptions, Missouri v. McNeely, — U.S.-, 133 S.Ct. 1552, 1558, 185 L.Ed.2d 696 (2013). The government bears the burden of demonstrating that an exception to the warrant requirement exists in any given case. See United States v. Licata, 761 F.2d 537, 543 (9th Cir.1985) (internal citations omitted) (“The government bears a heavy burden of demonstrating that exceptional circumstances justiffy] departure from the warrant requirement.”).
Exigent circumstances did not justify the warrantless search of Fowlkes’ rectum. The exception for exigent circumstances “applies when the exigencies of the situation make the needs of law enforcement so compelling that a warrantless search is objectively reasonable under the Fourth Amendment.” McNeely, 133 S.Ct. at 1558 (quoting Kentucky v. King, — U.S. -, 131 S.Ct. 1849, 1856, 179 L.Ed.2d 865 (2011)). The government is correct that a warrantless search may be conducted if an officer reasonably believes that evidence will be destroyed if he does not act quickly, so long as the search is conducted in a reasonable manner. See, e.g., Schmerber v. California, 384 U.S. 757, 770-71, 86 S.Ct. 1826, 16 L.Ed.2d 908 (1966). However, it is well-settled that the exception applies only where “there is [a] compelling need for official action and no time to secure a warrant.” McNeely, 133 S.Ct. at 1559 (emphasis added) (quoting Michigan v. Tyler, 436 U.S. 499, 509, 98 S.Ct. 1942, 56 L.Ed.2d 486 (1978)).
The record is devoid of any evidence from which the officers might reasonably have inferred that they were confronted with an exigent circumstance — the possible destruction of evidence — that left, them with “no time to secure a warrant.” Id. When he was searched, Fowlkes was handcuffed, tased, and surrounded by five police officers. He was under arrest and in the custody of the LBPD. The record contains no evidence that Fowlkes could have destroyed evidence or that a medical emergency existed. See United States v. Cameron, 538 F.2d 254, 259 &amp; n. 8 (9th Cir. 1976) (“There were no facts on the record indicating that failure to remove the heroin would constitute a danger to the suspect. ... [0]nly a showing of the greatest imminent harm would justify intrusive action for the purpose of removal of the drug.”); see also Johnson v. United States, 333 U.S. 10, 15, 68 S.Ct. 367, 92 L.Ed. 436 *757(1948) (“No suspect was fleeing or likely to take flight.”). Under these circumstances, there was ample time for the officers to secure a warrant, and the government’s claim of exigency fails.
Having found the exigency argument unavailing, we turn to the question of whether the “special needs” exception justifies this class of warrantless searches. Contrary to the dissent’s contention, it does not. Under the special needs exception, “suspicionless searches may be upheld if they are conducted for important non-law enforcement purposes in contexts where adherence to the warrant-and-probable cause requirement would be impracticable.” Friedman v. Boucher, 580 F.3d 847, 853 (9th Cir.2009) (emphasis omitted) (citation ommitted). To meet its burden of proving that the special needs exception justifies this search, the government must demonstrate that its interests were sufficient to outweigh the constitutional rights of the arrestee. See Bull v. City and Cnty. of S.F., 595 F.3d 964, 975 (9th Cir. 2010) (en banc). We must balance “the need for the particular search against the invasion of personal rights that the search entails” by “considering] the scope of the particular intrusion, the manner in which it is conducted, the justification for initiating it, and the place in which it is conducted.” Bell v. Wolfish, 441 U.S. 520, 559, 99 S.Ct. 1861, 60 L.Ed.2d 447 (1979).
The government has a strong interest in preventing contraband from entering its prisons and jails, but to satisfy the special needs exception, the government must also demonstrate that “adherence to the warrant-and-probable cause requirement would be impracticable.” Friedman, 580 F.3d at 853 (internal quotation marks omitted). The government does not meet this burden.
In Bull, we addressed whether suspicionless visual body cavity searches may be performed without a warrant during the jail intake process. 595 F.3d at 968-69. Answering this question in the affirmative, we relied primarily on two factors to conclude that it would be impracticable for the government to obtain a warrant prior to each individual search. First, we looked to the sheer number of individuals the San Francisco Sheriffs Department intakes annually: “50,000 individuals are booked and processed each year.” Id. at 966. Given these large numbers, it would be difficult, if not impossible, for the San Francisco Sheriffs Department to obtain a warrant prior to performing every individual visual cavity search. Second, we observed that visual cavity searches are often suspicionless; rather than justified by probable cause, they are necessary by virtue of the jail’s security concerns. See id. at 966-67.
Similarly, in Florence v. Board of Chosen Freeholders, — U.S.-, 132 S.Ct. 1510, 182 L.Ed.2d 566 (2012), the Supreme Court upheld a blanket strip search and visual body cavity search for arrestees entering detention facilities based on the same impracticability rationale that we applied in Bull. The Court considered, for example, that the Essex County Correctional Facility intakes more than 25,000 inmates each year, 'id. at 1514, and that it would be very difficult practically to identify or sort those detainees who should be searched because they are more likely to be carrying contraband from those who should not be searched, id. at 1520-22. The Court also explicitly noted: “There are no allegations that the detainees here were touched in any way as part of the searches.” Id. at 1515.
Neither of the concerns that animated our reasoning in Bull or the Court’s reasoning in Florence is present in this case. First, the government does not contend that it is necessary to physically pen*758etrate the body cavities of every person booked into the Long Beach City Jail. Instead, it seeks to justify the warrantless intrusion into one inmate’s body cavity. In Bull, for example, over a sixty month period, from April 2000 to April 2005, visual body cavity searches revealed only seventy-three cases of illegal drugs or drug paraphernalia hidden in arrestees’ body cavities—a rate of approximately fifteen cases a year. 595 F.3d at 969. And, in Bell, the Supreme Court noted “only one instance”, where an inmate was discovered attempting to smuggle contraband into the institution in this manner. 441 U.S. at 558, 99 S.Ct. 1861. The relatively small numbers of inmates concealing contraband in their body cavities shows there is not a “special need” for officers to conduct warrantless searches into inmates’ body cavities in general. These small numbers and the technological advancements that facilitate nearly immediate access to warrants,2 render the burden placed on the government to obtain a warrant negligible. Because officers likely will be able to establish probable cause based on their visual observations of the small number of individuals whom they suspect of secreting contraband, the time, feasibility, and practicability concerns underlying Bull and Florence do not apply here.
B.
Cementing the Fourth Amendment violation in this case is the unreasonableness of the manner in which the search was executed. “Even if a warrant is not required, a search is not beyond Fourth Amendment scrutiny; for it must be reasonable in its scope and manner of execution. Urgent government interests are not a license for indiscriminate police behavior.” Maryland v. King, — U.S. -, 133 S.Ct. 1958, 1970, 186 L.Ed.2d 1 (2013); see also Bull, 595 F.3d at 967 n. 2 (“There is no doubt ... that on occasion a security guard may conduct the search in an abusive fashion, and such an abuse cannot be condoned.” (quoting Bell, 441 U.S. at 560, 99 S.Ct. 1861)).
The conduct of the search here was patently unreasonable. In determining whether an individual search is reasonable, we evaluate the “totality of the circumstances,” McNeely, 133 S.Ct. at 1559, including “the scope of the particular intrusion, the manner of its conduct, and the justification for initiating it.” Cameron, 538 F.2d at 258 (internal quotation marks omitted).
First, Sergeant Gibbs evinced an intent to conduct any body cavity search he thought necessary long before he saw the plastic bag protruding from Fowlkes’s rectum or was privy to any other possible justification for such an intrusion. Gibbs, suspecting that Fowlkes had contraband in his person, made his way to the strip search room in the basement armed with his protective gloves, a stun gun taser, and additional officers—in short, everything he needed to conduct a cavity search, except a warrant.
Second, the scope of the search intruded beyond the surface of Fowlkes’s body, interfering with his bodily integrity. *759As the Supreme Court explained in Schmerber, “[t]he overriding function of the Fourth Amendment is to protect personal privacy and dignity against unwarranted intrusion by the State.” 384 U.S. at 767, 86 S.Ct. 1826. There, the Court upheld a warrantless blood draw by hospital personnel under “special facts” where there was no time to obtain a warrant because the amount of alcohol in the blood dissipates when the drinking stops and the evidence of alcohol would disappear. See id. at 770-71, 86 S.Ct. 1826. However, in doing so, the Court also noted, “The interests in human dignity and privacy which the Fourth Amendment protects forbid any such intrusions on the mere chance that desired evidence might be obtained.” Id. at 769-70, 86 S.Ct. 1826. The Court has subsequently described the interest in bodily integrity as implicating the “most personal and deep-rooted, expectations of privacy.” Lee, 470 U.S. at 760, 105 S.Ct. 1611 (holding a compelled surgical intrusion to remove a bullet fired by a robbery victim from the chest of the suspect unreasonable under the Fourth Amendment).
Third, the manner in which this search was conducted was unreasonable. “[T]he fourth amendment imposes a stricter standard on the ‘means and procedures’ of a body search than does the due process clause.” Cameron, 538 F.2d at 258. In evaluating whether the manner in which a search is conducted is reasonable, we consider a variety of factors including hygiene, medical training, emotional and physical trauma, and the availability of alternative methods for conducting the search. See Vaughan v. Ricketts, 859 F.2d 736, 741 (9th Cir.1988), abrogated on other grounds by Graham v. Connor, 490 U.S. 386, 109 S.Ct. 1865, 104 L.Ed.2d 443 (1989); see also Thompson v. Souza, 111 F.3d 694, 700-01 (9th Cir.1997) (considering hygiene and medical training of officers in evaluating the reasonableness of the search).
As an initial matter, the officers violated the jail’s own written policy for body cavity searches3 by failing to conduct the search “under sanitary conditions” and by not using a “Physician, Nurse Practitioner, Registered Nurse, Licensed Vocational Nurse, or Emergency Medical Technician.” There is no evidence that any of the officers had medical or any other relevant training on how to safely remove suspicious objects from an arrestee’s rectum or how to evaluate whether such removal could cause serious physical harm or death. The manner of this search is the very sort the Supreme Court explicitly distinguished from the blood test it found “performed in a reasonable manner” in Schmerber:
We are thus not presented with the serious questions which would arise if a search involving use of a medical technique, even of the most rudimentary sort, were made by other than medical personnel or in other than a medical environment — for example, if it were administered by police in the privacy of the stationhouse. To tolerate searches under these conditions might be to invite an unjustified element of personal risk of infection and pain.
384 U.S. at 771-72, 86 S.Ct. 1826. As the Supreme Court accurately predicted forty-years ago, tolerating such searches does invite an unjustified element of personal risk-a risk that Fowlkes experienced first — hand and one that is constitutionally *760intolerable.4
In Cameron, then-judge Anthony M. Kennedy explained, “[a]ny body search, if it is to comport with the reasonableness standard of the fourth amendment, must be conducted with regard for the subject’s privacy and be designed to minimize emotional and physical trauma.” 538 F.2d at 258. Specifically, he noted:
[T]he person accused of concealing contraband within his body is faced with the real prospect that the most intimate portions of his anatomy will be invaded and that he will suffer resulting pain or even physical harm. As in the case before us, the suspect usually faces this ordeal without assistance, surrounded by persons who administer the procedure on behalf of the government and thus appear to him to have as their overriding motive the obtaining of evidence to convict, and not his personal well being. In a situation thus laden with the potential for fear and anxiety, a reasonable search will include, beyond the usual procedural requirements, reasonable steps to mitigate the anxiety, discomfort, and humiliation that the suspect may suffer.
Id. Here there was no effort to minimize the potential for internal physical trauma to Fowlkes or the emotional humiliation he suffered. Schmerber is again instructive. There the Court explicitly considered that the blood draw in question “involves virtually no risk, trauma, or pain,” and that it “was performed in a reasonable manner” because “blood was taken by a physician in a hospital environment according to accepted medical practices.” 384 U.S. at 771, 86 S.Ct. 1826. Here by contrast, despite undisputed testimony by the officers themselves that Fowlkes posed no threat, much less an immediate threat to himself or the officers, and was not a flight risk (he was naked and bent over at the time), Sergeant Gibbs used a stun-gun taser to shock Fowlkes in an apparent effort to subdue him before conducting the physical search. Cf. Bryan v. MacPherson, 630 F.3d 805 (9th Cir.2010); Mattos v. Agarano, 661 F.3d 433, 446 (9th Cir.2011) (en banc) (holding a finder of fact could find the use of a drive stun taser against a person posing no immediate threat unreasonable and unconstitutionally excessive). Once Fowlkes was subdued, the officers proceeded with the degrading and dangerous removal of the as yet unidentified cocaine from Fowlkes’s rectum.5
Such conduct is a far cry from Cameron’s directive to “allay the anxieties and concerns of the suspect,” or contemplate whether any “less intrusive means of obtaining the evidence may properly have been considered.” Cameron, 538 F.2d at 258. As the Fourth Circuit recently held, “The manner in which contraband is removed from a suspect during a sexually intrusive search, no less than the manner *761in which the contraband initially is discovered, must be considered in determining under the Bell analysis whether the search was reasonable.” United States v. Edwards, 666 F.3d 877, 884 (4th Cir.2011). There, the court determined that the manner in which an officer removed a plastic bag that an arrestee had tied around his penis was unreasonable. The officer put on gloves and then used a knife to cut the bag off the suspect’s penis. The Fourth Circuit concluded that the manner of the removal “posed a significant and an unnecessary risk of injury to Edwards, transgressing well-settled standards of reasonableness. The fortuity that Edwards was not injured in the course of this action does not substantiate its safety.” Id. at 885.
There are any number of alternative methods the officers could have considered employing to recover this evidence. This is not to require a least-restrictive alternative test as determinative of reasonableness, but it would have been more reasonable simply to comply with the jail’s written policy and summon medical personnel.
C.
Finally, numerous jurisdictions have concluded in similar circumstances that such warrantless searches violate the Fourth Amendment. See, e.g., Meeks v. City of Minneapolis, 822 F.Supp.2d 919 (D.Minn.2011) (granting summary judgement for plaintiff in a § 1983 suit on the claim that officers’ conduct in pulling an item protruding from defendant’s anus while he was pushed up against a squad car violated his Fourth Amendment rights); United States v. Broadway, 580 F.Supp.2d 1179, 1185 (D.Colo.2008) (suggesting that “actual touching, penetration, attempted touching, or attempted penetration of Defendant’s anus or anal cavity” might constitute unreasonable scope or manner of search); State v. Barnes, 215 Ariz. 279, 281, 159 P.3d 589 (Ariz.Ct.App. 2007) (“[A]n officer must secure a warrant to remove items partially protruding from an arrestee’s rectum.”); State v. Robinson, 105 Conn.App. 179, 937 A.2d 717, 728-29 (2008) (noting that, under Connecticut law, police must procure a warrant before obtaining contraband from a defendant’s anus, but finding that the search at issue was not a body cavity search because “the bag was wholly outside of the defendant’s . rectum”); People v. Hall, 10 N.Y.3d 303, 311, 856 N.Y.S.2d 540, 886 N.E.2d 162 (2008) (“[T]he removal of an object protruding from a body cavity, regardless of whether any insertion into the body cavity is necessary, is subject to the Schmerber rule and cannot be accomplished without a warrant unless exigent circumstances reasonably prevent the police from seeking prior judicial authorization.”); Hughes v. Commonwealth, 31 Va.App. 447, 524 S.E.2d 155 (2000) (holding that a search in which officer asked suspect to bend over, • inspected his anus, instructed him to cough, then manually removed plastic bag protruding from suspect’s anus violated suspect’s Fourth Amendment rights).
The lack of a warrant coupled with the unreasonable and dangerous methods used during the body cavity search compel our conclusion that this search violated Fowlkes’s Fourth Amendment rights and that the district court should have suppressed the evidence.
III.
Although the district court erred in failing to suppress the evidence seized from within Fowlkes’s body, it appropriately denied Fowlkes’s remaining motions.
A.
Fowlkes asserts that an apparent discrepancy between the person who pre*762pared the government’s application for the wiretap and the person who signed it renders the interception of the wire communications “unlawful” and mandates suppression of any evidence obtained as a result of that wiretap. At a minimum, he claims the district court erred in denying him a Franks6 hearing because the affidavit in support of the wiretap contained material misrepresentations and omissions.' Because any technical deficiencies in the wiretap application do not warrant suppression and because Fowlkes’s Franks claim is without merit, the district court did not err in denying the motion to suppress. «
Title III of the Omnibus Crime Control and Safe Streets Act of 1968, 18 U.S.C. §§ 2510-2520, governs wiretapping by law enforcement. United States v. Garcictr-Villalba, 585 F.Bd 1223, 1227 (9th Cir. 2009). Evidence obtained from a wiretap must be suppressed if “the communication was unlawfully intercepted.” 18 U.S.C. § 2518(10)(a)(i). In United States v. Chavez, the Supreme Court held that establishing a rule in which “every failure to comply fully with any requirement provided in Title III would render the interception of wire or oral communications unlawful” “would be at odds with the statute itself.” 416 U.S. 562, 574-75, 94 S.Ct. 1849, 40 L.Ed.2d 380 (1974) (internal quotation marks omitted). Rather, “suppression is required only for a failure to satisfy any of those statutory requirements that directly and substantially implement the congressional intention to limit the use of intercept procedures to those situations clearly calling for the employment of this extraordinary investigative device.” United States v. Donovan, 429 U.S. 413, 433-34, 97 S.Ct. 658, 50 L.Ed.2d 652 (1977) (internal quotation marks omitted).
Here, any technical deficiency caused by one AUSA signing for another does not constitute a failure to satisfy such a statutory requirement. The affidavit prepared by Agent Jonathan Koeppen in support of the wiretap application satisfies the statutory requirements of 18 U.S.C. § 2518(1)—it was prepared in writing by an investigative or law enforcement officer, it stated Koeppen’s authority to make an application, it provided a full and complete statement of the facts and circumstances relied upon, and it was signed under oath. We have previously implied that an affidavit attached to a wiretap application can fulfill the requirements of 18 U.S.C. § 2518(1) in lieu of the application itself. See Garciar-Villalba, 585 F.3d 1223, 1227-28 (9th Cir.2009) (evaluating whether the affidavit contained the full and complete statement as to whether other investigative procedures had been tried and failed as required by 18 U.S.C. § 2518(l)(c), which governs the requirements of a wiretap application); United States v. Fernandez, 388 F.3d 1199, 1234-37 (9th Cir. 2004).
The only statutory requirement that Koeppen’s affidavit failed to meet was to identify the officer authorizing the application, as required under 18 U.S.C. § 2518(l)(a). The Supreme Court, however, has held that misidentification of the authorizing officer in the wiretap application is not a technical deficiency that requires suppression. Chavez, 416 U.S. at *763575, 94 S.Ct. 1849. So too here. Exhibit A attached to the wiretap application did provide authorization for the wiretap, and the singular failure of Agent Koeppen’s affidavit to identify the authorizing official does not warrant suppression.
The district court did not err in denying a Franks hearing because Fowlkes has not shown that “the allegedly false statements] [were] necessary to the finding of probable cause.” Franks, 438 U.S. at 155-56, 98 S.Ct. 2674. Even if we accept as true all of Fowlkes’s allegations regarding misstatements and omissions in Koeppen’s affidavit, Fowlkes must still “show that the affidavit purged of those falsities and supplemented by the omissions would not be sufficient to support a finding of probable cause.” United States v. Stanert, '762 F.2d 775, 782 (9th Cir.1985) (citing Franks, 438 U.S. at 171-72, 98 S.Ct. 2674). This he cannot do. The affidavit contains many unchallenged factual allegations linking the phones and implicating Target Telephone #2 in the service of drug trafficking. These include numerous calls between the phones, shared subscriber information, high call volume, and toll information connecting one phone to suspected narcotics traffickers.
B.
Fowlkes also asserts that the district court erred in denying his motion to suppress the 2.6 ounces of cocaine seized from his apartment because the officers’ warrantless entry was unlawful and the warrant authorizing the search was unsupported by probable cause. As the district court correctly found, however, probable cause coupled with exigent circumstances justified the officers’ warrantless entry, and the warrant itself was supported by probable cause. See United States v. Alaimalo, 313 F.3d 1188, 1193 (9th Cir.2002) (“Even when exigent circumstances exist, police officers must have probable cause to support a warrantless entry into a home.”).
Probable cause justifying a warrantless entry requires the government to show a “fair probability that contraband or evidence of a crime” was in the residence. Illinois v. Gates, 462 U.S. 213, 238, 103 S.Ct. 2317, 76 L.Ed.2d 527 (1983); see Bailey v. Newland, 263 F.3d 1022, 1032 (9th Cir.2001). Examining the totality of the circumstances known to the officers at the time, Alaimalo, 313 F.3d at 1193, the officers here had probable cause sufficient to believe there was contraband at Fowlkes’s Cedar Avenue apartment. Officers intercepted a voicemail suggesting that Fowlkes paid rent for the apartment. They also intercepted calls in which Fowlkes mentioned undercover officers and referenced “get[ting] everything out of’ the premises and “trash[ing]” his phone because he’s “not gonna give them shit to put together on me.” On this basis, the officers reasonably concluded that drugs were present at Fowlkes’ Cedar Avenue apartment. See United States v. Angulo-Lopez, 791 F.2d 1394, 1399 (9th Cir. 1986) (“In the case of drug dealers, evidence is likely to be found where the dealers live.”).
Exigent circumstances include “those circumstances that would cause a reasonable person to believe that entry ... was necessary to prevent ... the destruction of relevant evidence.” United States v. Howard, 828 F.2d 552, 555 (9th Cir. 1987) (quoting United States v. McConney, 728 F.2d 1195, 1199 (9th Cir.) (En banc), cert, denied, 469 U.S. 824,105 S.Ct. 101, 83 L.Ed.2d 46 (1984)). The September 4 calls further support a finding of exigent circumstances. During those calls, Fowlkes stated, “It’s a 911.... The homie said the police is outside in the back .... I was gonna tell you to take that shit over to *764Keisha’s house,” and he instructed the person on the other end of the line to “move that computer and the rest of all that you know, just get everything out of here----” As the district court correctly found, those intercepted communications, viewed as they would reasonably appear to a prudent law enforcement officer, could have led to the conclusion that it was necessary to enter and secure the Cedar Avenue apartment to prevent Fowlkes from destroying contraband. The one-hour lapse between the last intercepted call and officers’ entry into the apartment did not undermine the exigency of the situation. In United States v. Lindsey, 877 F.2d 777, 782-83 (9th Cir.1989), we held that a delay of the same duration did not negate the exigency because the delay was caused by officers awaiting reinforcements. Similarly, here the delay occurred because of the time it took officers to respond and then “coordinate[ ] their efforts” for entry.
Finally, the magistrate judge did not clearly err in finding probable cause sufficient to support the search warrant for the apartment. United States v. Krupa, 658 F.3d 1174, 1177 (9th Cir.2011). The affidavit in support of the warrant alleged the following: 1) Fowlkes was a cocaine distributor; 2) he was using a phone that was the subject of an ongoing wiretap; 3) he resided at 2310 Cedar Avenue, Apartment 3, Long Beach, CA; and 4) during a phone call on one of the tapped phones, Fowlkes instructed a woman to clear out the place, including the computer, which the affiant interpreted as telling the woman to remove all evidence of narcotics distribution from the Cedar Avenue apartment. These facts are sufficient to support the magistrate’s finding of probable cause. Fowlkes’s assertion that the affidavit contained material misrepresentations and omissions is unavailing. As the district court correctly found, some of Fowlkes’s allegations lack evidentiary support. The other errors he points to appear simply to be typographical errors, which do not alter the substance of the affidavit.
C.
Finally, the district court correctly denied Fowlkes’s motion to suppress the cocaine base seized from his car. An officer may conduct a traffic stop if the officer has “probable cause to believe that a traffic violation has occurred.” Whren v. United States, 517 U.S. 806, 810, 116 S.Ct. 1769, 135 L.Ed.2d 89 (1996). “The fact that the alleged traffic violation is a pretext for the stop is irrelevant, so long as the objective circumstances justify the stop.” United States v. Wallace, 213 F.3d 1216, 1219 (9th Cir.2000). Here, the officer observed an expired temporary operating permit on the car Fowlkes was driving, which provided the basis for the Terry stop. Terry v. Ohio, 392 U.S. 1, 20, 88 S.Ct. 1868, 20 L.Ed.2d 889 (1968).
The search of the car was likewise appropriate under the automobile exception to the warrant requirement, which allows police officers to “conduct a warrantless search of a vehicle if they have probable cause to believe that it contains contraband.” United States v. Pinela-Hemandez, 262 F.3d 974, 977-78 (9th Cir. 2001). A determination of probable cause is based on the “totality of the circumstances” known to the’ officers, United States v. Smith, 790 F.2d 789, 792 (9th Cir.1986), and because the officers were acting in concert in this case, we “look[ ] to the collective knowledge of all the officers involved in the criminal investigation.” United States v. Ramirez, 473 F.3d 1026, 1032-37 (9th Cir.2007) (internal quotation marks and citation omitted). Here, the officers who ordered the traffic stop had just observed what they believed, based on *765previous surveillance of Fowlkes and their own experiences, to be a narcotics transaction between Fowlkes and another individual. Once the car was pulled over and Fowlkes ordered to get out of the car, officers observed small, off-white rock-like chips on the driver and passenger seats in plain view and a green, leaf-like substance inside a clear bag in plain sight. Based upon the totality of these circumstances, the district court properly denied Fowlkes’s motion to suppress the evidence found in the car.
IV.
The district • court did not clearly err when it found, following its grant of Fowlkes’s request for a mistrial, that the government had not “goad[ed]” him into making the request. See United States v. Lun, 944 F.2d 642, 644 (9th Cir. 1991). “[0]nly where the governmental conduct in question is intended to ‘goad’ the defendant into moving for a mistrial may a defendant raise the bar of double jeopardy to a second trial after having succeeded in aborting the first on his own motion.” United States v. Lopez-Avila, 678 F.3d 955, 962 (9th Cir.2012) (internal citations omitted).
Fowlkes asserts that the government’s conduct in arresting Marshall, a witness who had just testified for the defense, immediately outside the courtroom doors and within sight and hearing of the jury, goaded him into requesting the mistrial. The trial court, after two days of evidentiary hearings, found it could not “conclude that the arrest of Ms. Marshall was done in bad faith or with the intention to secure a mistrial.” The evidence supports the district court’s finding “that the government did not intentionally effectuate Ms. Marshall’s arrest so as to bring it to the attention of the jury.” Indeed, the jury was only able to observe the arrest because the glass panes on the courtroom doors afforded them a view of the hallway where the arrest was taking place. Given these facts, the district court’s finding is not clearly erroneous. See United States v. Hagege, 437 F.3d 943, 951-52 (9th Gir. 2006). Moreover, while not conclusive, the government’s opposition to Fowlkes’s motion for a mistrial supports the district court’s finding of a lack of intent. See United States v. McKoy, 78 F.3d 446, 449 (9th Cir.1996) (considering the government’s opposition to a motion for a mistrial as a factor in the district court’s finding that the government lacked the requisite intent to trigger double jeopardy and prevent a retrial).
V.
For the foregoing reasons, we affirm in part and reverse in part. We vacate Fowlkes’s conviction and sentence on Count V, which was predicated on the drugs unconstitutionally seized from his body cavity, and remand for re-sentencing consistent with this decision.7
AFFIRMED, REVERSED, VACATED, and REMANDED.

. Because the evidence seized from within Fowlkes’s body during the unconstitutional body cavity search, as to which Fowlkes claims tampering, should have been suppressed, we need not resolve Fowlkes’s other allegations of discovery violations or chain of custody issues pertaining to that evidence.


. "[A]dvances in the 47 years since Schmerber was decided ... allow for the more expeditious processing of warrant applications, particularly in contexts ... where the evidence offered to establish probable cause is simple. The Federal Rules of Criminal Procedure were amended in 1977 to permit federal magistrate judges to issue a warrant based on sworn testimony communicated by telephone .... And in addition to technology-based developments, jurisdictions have found other ways to streamline the warrant process, such as by using standard-form warrant applications.... McNeely, 133 S.Ct. at 1561— 62.”


. The dissent is incorrect in suggesting that the physical search was conducted in accordance with the jail’s written policy.


. As the dissent correctly notes, we have applied Schmerber to both visual and physical body cavity searches. See Fuller v. M.G. Jewelry, 950 F.2d 1437, 1449 (9th Cir.1991). This does not mean, however, that visual searches and physical searches are identical with regard to whether they "might ... invite an unjustified element of personal risk of infection and pain.” Schmerber, 384 U.S. at 772/86 S.Ct. 1826.


. The dissent suggests that it is immaterial that the materials lodged inside of Fowlkes' body were unidentified, because they were indisputably contraband. The officers' lack of information about the object — its precise size, shape and texture; whether the surrounding plastic was abraded; whether the inside of Fowlkes' rectal cavity was injured; and whether the substance inside could potentially poison — highlights the heightened "personal risk” inherent in the physical search. See Schmerber, 384 U.S. at 772, 86 S.Ct. 1826. That Fowlkes may have been acting unlawfully by smuggling an item into jail does not affect this calculus.


. "[WJhere the defendant makes a substantial preliminary showing that a false statement knowingly and intentionally, or with reckless disregard for the truth, was included by the affiant in the warrant affidavit, and if the allegedly false statement is necessary to the finding of probable cause, the Fourth Amendment requires that a hearing be held at the defendant's request.” Franks v. Delaware, 438 U.S. 154, 155-56, 98 S.Ct. 2674, 57 L.Ed.2d 667 (1978).


. Because we remand for re-sentencing consistent with this opinion, we decline to address Fowlkes’s challenge to the propriety of his original sentence under the Fair Sentencing Act of 2010.

